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                         IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

KATHY WALLER, et al                              §
    Plaintiffs                                   §            CIVIL ACTON NO.
                                                 §            3:15-CV-01808-B
TERRY WAYNE SPRINGER, et al                      §
     Intervenors                                 §
                                                 §
v.                                               §
                                                 §
CITY OF FORT WORTH, et al                        §
      Defendants.                                §

                                  ENTRY OF APPEARANCE

TO THE HONORABLE JUDGE OF SAID COURT:

       This is to advise the Court that I am the attorney of record for Defendants Fort Worth Police

Officers Merle Green and Dana Baggott.

       SIGNED this 4th day of June, 2015.

                                               Respectfully submitted,

                                              __/s/James T. Jeffrey, Jr.___
                                              JAMES T. JEFFREY, JR.
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                                              ATTORNEY FOR DEFENDANTS
                                              MERLE GREEN & DANA BAGGOTT


                                 CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing was served upon all counsel of
record this the 4th day of June, 2015 by certified mail, return receipt requested.


                                                      __/s/James T. Jeffrey, Jr.____
                                                      JAMES T. JEFFREY, JR.
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